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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

                                        :
UNITED STATES OF AMERICA
                                        :

       v.                               :    Criminal No. DKC 23-323

                                        :
MICHAEL GEORGE VERZALENO, JR.,
et al.                                  :

                                    ORDER

       Defendants filed a letter summarizing their contention that

the government failed to provide complete discovery.                  (ECF No.

71).   They report that discussions have failed to remedy the issue

and seek leave to file a supplemental submission that more fully

demonstrates their need for further disclosures by the government.

       Pursuant to Standing Order 2020-01, if good faith efforts to

resolve a discovery or disclosure dispute are unsuccessful, the

party that intends to seek an order of the court to resolve the

dispute is to file a letter with the court setting forth the nature

of   the    dispute,   efforts   made   to    resolve   it,   and   the   relief

requested.     The adverse party may then file a letter setting forth

its position within seven days.              The government has not filed a

response to Defendants’ letter and the time to do so has now

expired.

       Accordingly, it is this 8th day of May, 2024, by the United

States District Court for the District of Maryland, ORDERED that:
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     1.   Defendants’    unopposed       request   for   leave   to   file   a

supplemental submission (ECF No. 71) BE and hereby IS GRANTED;

     2.   Defendants’ supplemental submission is due by Friday,

May 10, 2024;

     3.   The government’s response is due by Monday, May 20, 2024;

     4.   Any reply is due by Friday, May 24, 2024; and

     5.   The Clerk is directed transmit a copy of this Order to

counsel for the parties.

                                                    /s/
                                          DEBORAH K. CHASANOW
                                          United States District Judge




                                     2
